                      Case 1:23-mj-00091-GMH Document 1 Filed 04/28/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
              Raymon Edward Dandridge
                                                                     )
                  DOB: XXXXXX                                        )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 22, 2023 through April 28, 2023 in the county of                                             in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 2252(a)(2) Distribution of Child Pornography,
        18 U.S.C. § 2423(b) Travel with Intent to Engage in Illicit Sexual Conduct.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                      Hector Sepulveda, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                        Digitally signed by
                                                                                                        G. Michael Harvey
Date:             04/28/2023
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
